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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                               SOUTHERN DIVISION
                                   AT LONDON

UNITED STATES OF AMERICA,                                CRIMINAL NO. 6:16-21
       Plaintiff,

V.                                                       OPINION AND ORDER

MAURICE SYDNOR,
       Defendant.



                                         *** *** ***

     This matter is before the Court on several motions (DE 277, 278, 279) filed by defendant

Maurice Sydnor.

     First, is Sydnor’s motion (DE 277) to preclude any discussion at trial about whether

arresting officers smelled marijuana in Sydnor’s residence on the day he was arrested

there. In response, the government states that it does not intend to elicit such testimony

from the arresting officers and will advise all potential witnesses to refrain from discussing

Sydnor’s alleged marijuana use. Accordingly, the Court will deny this motion as moot.

Should the government, during trial, find it appropriate to elicit any testimony regarding

Sydnor’s alleged marijuana use, it should first approach the bench for permission.

     Second is Sydnor’s motion (DE 278) to exclude references to his alleged alias of “Black”

during the Court’s recitation of the statement of the case to potential jurors. Sydnor also

moves to strike the alias from the indictment and all other materials submitted to the jury.

He argues that the inclusion of the alias in the indictment and in the statement of the case

prior to trial will suggest to the jury that they must accept that Sydnor was known as

“Black,” regardless of what evidence the government should produce on the subject.
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   The Sixth Circuit “strongly disapprove[s of] the practice of including aliases in

indictments.” United States v. Wilkerson, 456 F.2d 57, 59 (6th Cir. 1972). “Only when proof

of an alias is relevant to identifying the defendant should a court allow its inclusion in the

indictment and its subsequent introduction at trial.” Id.

   Here, including the alias in the indictment serves “the proper purpose of identifying the

Defendant.” United States v. Emuegbunam, 268 F.3d 377, 395 (6th Cir. 2001). The

government will call witnesses who will identify Sydnor as the person they knew as

“Black,” who was involved in the drug-trafficking activities charged in the indictment.

   Nevertheless, the Court will not refer to the alias in its statement of the case to

potential jurors. In addition, the Court will instruct the jury that the indictment is not

evidence of guilt, that the defendant is presumed innocent, and that the government must

prove each element of the crimes charged beyond a reasonable doubt. The government will

not be permitted to argue that “people who uses aliases are inherently suspect.” Wilkerson,

456 F.2d at 59. Further, Sydnor may certainly produce evidence that he was not known as

“Black” and explain to the jury that they need not accept that as fact merely because the

alias is included on the indictment. These measures will help to counter any prejudice

caused by including the alias in the indictment.

   Finally, Sydnor moves (DE 279) to preclude the government from introducing evidence

of the firearms found at his residence on the morning he was arrested there. He argues the

evidence is unduly prejudicial and irrelevant because he is not charged with any firearms

offense.

   The government argues that the firearms are relevant to the drug charges. It states

that several witnesses will testify that Sydnor’s co-defendant Timothy Harris instructed



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them to deliver the firearms to “Black” and to obtain methamphetamine or heroin from

“Black.”

   Accordingly, the existence of the firearms at Sydnor’s residence is relevant to the crimes

charged. It will corroborate the testimony of the witnesses who state they delivered the

guns to the residence and obtained drugs from the residence. It will also help prove that

Sydnor was known as “Black.”

   To alleviate any undue prejudice, at Sydnor’s request, the Court can instruct the jury

that Sydnor has not been charged with any firearms offenses and that the existence of the

firearms at his residence should be considered by them only for purposes of determining the

credibility of the witnesses who testified that they delivered the firearms there and for

purposes of determining whether Sydnor was known as “Black” to these witnesses.

   For all these reasons, the Court hereby ORDERS as follows:

   1) Sydnor’s motion (DE 277) to preclude any discussion at trial about whether

        arresting officers smelled marijuana in Sydnor’s residence on the day he was

        arrested there is DENIED as moot, the government having agreed not to produce

        any such evidence;

   2)   Sydnor’s motion (DE 278) to exclude references to the alleged alias of “Black” during

        the Court’s recitation of the statement of the case and to strike the alias from the

        indictment and all other materials submitted to the jury is GRANTED in part and

        DENIED in part as follows:

        a) the motion is GRANTED to the extent it asks the Court to exclude the reference

           to the alias in the statement of the case read to the potential jurors prior to trial;

           and



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    b) the motion is DENIED to the extent that it asks the Court to strike the alias

       from the indictment and other materials submitted to the jury; and

 3) Sydnor’s motion (DE 279) to preclude the government from introducing evidence of

    the firearms found at his residence on the morning he was arrested there is

    DENIED.



                                         Dated December 12, 2017.




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